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                        UNITED STATES DISTRICT COURT                  2022JUL i 2 PH 3: 20
                    FOR THE SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT DAYTON                    crit^\ .., ;. : ;"^;:"OHIO
                                                                      ^^DSV^^ON
UNITED STATES OF AMERICA,                       Case   No..


      Plaintiff,                                INDICTMENT

                   V.                           18 U. S. C. § 1952 (a) (1)

JOSEPH STEPHEN IAVECCHIO,
                                                                       THOMASM. ROSE
      Defendant.



The Grand Jury charges:

                                        COUNT ONE

                           [18 U. S. C. § 1952(a) (1) ]

      On or about November         8,   2021,   in the Southern        District       of

Ohio, defendant JOSEPH STEPHEN IAVECCHIO traveled in interstate

commerce and used any facility in interstate                  commerce with the

intent to distribute       the proceeds of any unlawful activity -

namely,   a business enterprise           involving    controlled      substances

     In violation       of Title    18,   United    States    Code,    Section

1952(a) (1).




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                            FORFEITURE ALLEGATION



     Upon conviction     of the offense set forth in Count One of

this Information, defendant JOSEPH STEPHEN IAVECCHIO shall

forfeit   to the United States,     pursuant to 18 U. S. C. §

981(a)(1)(C)   and 28 U. S. C. § 2461 (c),    any property,   real or

personal,   which constitutes      or is derived from proceeds

traceable to the violation,        including but not limited to

$454, 380. 00 in U. S. Currency.

                            SUBSTITUTE ASSETS

     If any of the property described above, as a result of any

act or omission of the defendant:


     a      cannot be located upon the exercise of due diligence;

     b.     has been transferred or sold to,       or deposited with, a
            third party;

     c.     has been placed beyond the jurisdiction of the court;

     d.     has been substantially     diminished in value;       or

     e.     has been commingled with other property which cannot
            be divided without difficulty, it is the intent of
            the United States, pursuant to 21 U. S. C. § 853 (p), as
            incorporated by 28 U. S. C. § 2461 (c),     to seek




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forfeiture of any other property of the defendant, up to the

value of the property described above.



                                          A TRUE BILL




                                           ^

KENNETH L.         PARKER
U    "    ed   tates   Attorney




    RENT G. TABACCHI
    ssistant      United   States Attorney




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